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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

SAMA CAMP, LLC,
      Plaintiff,
v.                                        CIVIL ACTION NO. 1:22-cv-01722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
      Defendants.

                   MOTION TO DISMISS COUNTERCLAIM

      Plaintiff Sama Camp, LLC (“Plaintiff”) respectfully moves this Court to

dismiss Defendants Sama Tea, LLC; Sama Worldwide Inc.; and Sama Beverages,

LLC’s (the “Entity Defendants”) Counterclaim [ECF No. 18] for failure to state a

claim. This action arises from Defendants’ infringement of Plaintiff’s valid,

enforceable trademark, which the Entity Defendants seek to cancel on the grounds

of abandonment and fraud on the United States Patent and Trademark Office. As

expounded in the attached Memorandum in Support, the allegations in the Entity

Defendants’ Counterclaim lack the specificity required for fraud claims and fail to

sufficiently allege trademark abandonment. Plaintiff therefore requests that the

Court grant the instant motion and dismiss the Entity Defendants’ Counterclaim.
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Respectfully submitted, this 11th day of August, 2022.

                               SPERRY IP LAW d/b/a VIVID IP
                               /Tayah L. Woodard/
                               Marcy L. Sperry
                               marcy@vividip.com
                               Tayah L. Woodard
                               tayah@vividip.com
                               3017 Bolling Way, NE
                               Atlanta, Georgia 30305
                               (404) 474-1600

                               BEKIARES ELIEZER, LLP
                               Zachary Eyster
                               2870 Peachtree Rd. #512
                               Atlanta GA 30305
                               zeyster@founderslegal.com
                               Telephone: 404.537.3686

                               Attorneys for Plaintiff and Counter-
                               Defendant Sama Camp, LLC




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